
990 So.2d 731 (2008)
In re Vernon CLAVILLE.
No. 2008-B-2097.
Supreme Court of Louisiana.
September 17, 2008.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent,
IT IS ORDERED that Vernon Claville, Louisiana Bar Roll number 4178, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ John L. Weimer
Justice, Supreme Court of Louisiana
